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                       Exhibit C
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE
                ------------------------------ x
                                                :
               In re:                           : Chapter 11
                                                :
               TRIBUNE COMPANY et al.,          : Case No. 08-13141 (KJC)
                                                :
                                 Debtors.       : (Jointly Administered)
                                                :
                                                : Re: Docket Nos. 7522, 7561
                ------------------------------ x

                     ORDER APPROVING STIPULATION CONCERNING LAW DEBENTURE’S
                       MOTION (D.I. 7522) TO COMPEL ANGELO GORDON TO PRODUCE
                          DOCUMENTS PURSUANT TO BANKRUPTCY RULES 9014
                          AND 7037 AND FEDERAL RULE OF CIVIL PROCEDURE 37

                              Upon review and consideration of the Stipulation Concerning Law Debenture’s

               Motion (D.I. 7522) to Compel Angelo Gordon to Produce Documents Pursuant to Bankruptcy

               Rules 9014 and 7037 and Federal Rule of Civil Procedure 37 (the “Angelo Gordon

               Stipulation”), attached hereto as Exhibit 1, and sufficient cause appearing therefore, it is hereby

               ORDERED, ADJUDGED AND DECREED as follows:

                              1.     The Angelo Gordon Stipulation is hereby APPROVED.

                              2.     The parties to the Angelo Gordon Stipulation are hereby authorized to take

               any and all actions reasonably necessary to effectuate the terms of the Angelo Gordon

               Stipulation.

                              3.     This Court shall retain jurisdiction over any and all matters arising from or

               related to the implementation or interpretation of the Angelo Gordon Stipulation or this Order.



               Dated: February _____, 2011           ____________________________________________
                      Wilmington, Delaware           UNITED STATES BANKRUPTCY JUDGE


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                       Exhibit 1
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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                     Chapter 11

TRIBUNE COMPANY, et al.,                                   Cases No. 08-13141 (KJC)
                                       Debtors.
                                                           Jointly Administered

                                                           Hearing Date: Feb. 8 2011 at 10:00 a.m. (ET)

               STIPULATION CONCERNING LAW DEBENTURE’S MOTION
                (D.I. 7522) TO COMPEL ANGELO GORDON TO PRODUCE
              DOCUMENTS PURSUANT TO BANKRUPTCY RULES 9014 AND
                  7037 AND FEDERAL RULE OF CIVIL PROCEDURE 37


         WHEREAS Law Debenture Trust Company of New York (“Law Debenture”) filed a

motion (D.I. 7522) to compel Angelo, Gordon & Co., L.P. (“Angelo Gordon”) to produce certain

FCC-Related Documents (the “Motion”);


         WHEREAS Angelo Gordon has objected to the Motion;


         WHEREAS the parties have negotiated a settlement that fully resolves the Motion on the

terms and conditions set forth in this Stipulation and [Proposed] Order;


         IT IS NOW HEREBY STIPULATED AND AGREED:

         Subject to the following paragraphs of this Stipulation, Angelo Gordon will produce the

following documents to Law Debenture relating to FCC matters (“FCC Discovery”):


         1.      With respect to Freedom Communications Holdings, Inc., Philadelphia Media

                 Network, Inc., the publisher of The Philadelphia Inquirer, and TTBG LLC, the

                 Certificate of Incorporation, Bylaws, Stockholders Agreement, Limited Liability



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                 Company Agreement, Partnership Agreement, or similar documents, to the extent

                 the same (x) are within Angelo Gordon’s possession, and (y) show:


                 (a)    the governance structure of such entity and any governance or

                        management authority or rights of Angelo Gordon, including director

                        designation or nomination rights; or


                 (b)    the Equity Interest1 or Debt Interest2 held or managed by Angelo Gordon;3

                        and


                 (c)    to the extent that such documents do not reflect the information called for

                        in Paragraph 1(b), a statement indicating whether Angelo Gordon owns a

                        5% or greater Equity Interest or more than a 33% Debt Interest, and, with

                        respect to any 5% or greater Equity Interest, whether such interest is

                        between 5% and 25%, exceeds 25% but is not more than 50%, or exceeds

                        50%.


         2.      With respect to the entities set forth on Exhibit A hereto,


                 (a)    a statement indicating whether Angelo Gordon owns a 5% or greater

                        Equity Interest or more than a 33% Debt Interest, and, with respect to any




    1
      “Equity Interest” means any current direct or indirect ownership interest, excluding any
contingent or future interest such as an option or warrant.
    2
        “Debt Interest” means any debt.
    3
     For purposes of paragraphs 1-2, “Angelo Gordon” means Angelo Gordon or any affiliate
of Angelo Gordon.

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               5% or greater Equity Interest, whether such interest is between 5% and

               25%, exceeds 25% but is not more than 50%, or exceeds 50%; and


        (b)    for any such entity in which Angelo Gordon holds such an interest, the

               Certificate of Incorporation, Bylaws, Stockholders Agreement, Limited

               Liability Company Agreement, Partnership Agreement, or similar

               documents, to the extent the same (x) are within Angelo Gordon’s

               possession, (y) are not restricted from disclosure (including by any

               applicable confidentiality provisions or agreements), and (z) show:


               (i)     the governance structure of such entity and any governance or

                       management authority or rights of Angelo Gordon, including

                       director designation or nomination rights; or


               (ii)    the Equity Interest or Debt Interest held or managed by Angelo

                       Gordon.


3.      Provision of the information set forth herein will resolve Law Debenture’s Motion

        to Compel [D.I. 7512], which Law Debenture shall promptly withdraw with

        prejudice. Any documents and information that Angelo Gordon may produce in

        connection with this resolution are subject to the protections of the Depository

        Order [D.I. 2858]; as provided by the Depository Order and Acknowledgement

        thereto, Law Debenture agrees to use the documents “solely in connection with

        the Cases.” (Acknowledgement, ¶ 3.) Pursuant to the Depository Order and

        Acknowledgment, certain documents produced by Angelo Gordon may be

        designated “Financial Institution Highly Confidential,” “Highly Confidential –

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        Attorneys’ Eyes Only,” or “Confidential.” Law Debenture reserves its rights

        pursuant to the Depository Order and Acknowledgement to challenge such

        designations, but will abide by the terms of the Depository Order and

        Acknowledgment applicable to such documents and, absent further order of the

        Court, will not use such documents in a bankruptcy or other court filing unless

        filed under seal. (Acknowledgment, ¶ 7) In addition, absent further order of the

        Court, Law Debenture agrees not to raise, utilize, provide or discuss any such

        documents (as identified in the preceding sentence), or facts learned therein, with

        the FCC, except to the extent such documents or facts are otherwise publicly

        available (other than by means of a violation of this Stipulation and Order).

        Angelo Gordon reserves all of its rights as set forth in Angelo Gordon’s

        Objections and Responses to Law Debenture’s Second Request for the Production

        of Documents.


4.      The statements provided pursuant to this Stipulation shall be based on Angelo

        Gordon’s knowledge, information and belief, formed after a reasonable, good

        faith inquiry. Angelo Gordon will use its reasonable best efforts to produce the

        foregoing documents on a rolling basis by February 11, 2011, and will in any

        event comply with its obligation under the Case Management Order to complete

        production within 15 days of this Order.


5.      To the extent that Law Debenture wishes to submit a report on behalf of an FCC

        expert, such report shall be due on February 14, 2011 by 1 p.m. EST. To the

        extent that Angelo Gordon or any other proponent of the



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              Debtor/Committee/Lender Plan wishes to submit a rebuttal report on behalf of an

              FCC expert, such report shall be due on February 25, 2011.


Dated: February 4, 2011                  BIFFERATO GENTILOTTI LLC
       Wilmington, DE

                                         /s/ Garvan F. McDaniel_______
                                         Garvan F. McDaniel (No.4167)
                                         800 N. King Street, Plaza Level
                                         Wilmington, Delaware 19801
                                         (302) 429-1900


                                         KASOWITZ, BENSON, TORRES &
                                         FRIEDMAN LLP
                                         Sheron Korpus
                                         Christine A. Montenegro
                                         1633 Broadway
                                         New York, New York 10019
                                         (212) 506-1700


                                         Attorneys for Law Debenture Trust Company
                                         of New York




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Dated: February 4, 2011           YOUNG CONAWAY STARGATT &
       Wilmington, DE             TAYLOR, LLP

                                  /s/ M. Blake Cleary________________
                                  M. Blake Cleary (No. 3614)
                                  The Brandywine Building – 17th Floor
                                  1000 West Street
                                  Wilmington, DE 19801
                                  (302) 571-6600

                                           - and –

                                  AKIN GUMP STRAUSS HAUER AND
                                  FELD LLP
                                  Tom W. Davidson, Esq.
                                  1333 New Hampshire Avenue, NW
                                  Washington, DC 20036

                                  Attorneys for Angelo, Gordon & Co., L.P.




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                                          Exhibit A

Affiliated Media Inc.
Sun-Times Media Holdings LLC
ASP Westward, L.P.
Seattle Times Company
Swift Newspapers Inc.
Halifax Media Acquisition Inc.
American Consolidated Media, L.P.
GateHouse Media Inc
Fisher Communications Inc.
Black Crow Media Group
Newsweb Corporation
Cherry Creek Radio LLC
Citadel Broadcasting
Grupo Radio Centro
Entravision Communications Corp
ION Media Networks Inc.
Inner City Broadcasting Corporation
Journal Register company
Lazer Broadcasting Corporation
Liberman Broadcasting Inc.
Max Media LLC
Morris Communications Company
Midwest Communications Incorporated
Millennium Radio Group LLC
Nassau Broadcasting
NextMedia Group Inc.
NRG Media LLC
Radio One Inc.
Saga Communications Inc
Salem Communications Corporation
Sinclair Broadcast Group Inc.
Spanish Broadcasting Systems
Townsquare Media LLC
Broadcasting Media Partners [Univision]
Vox Media
WRNN-TV
ZGS Communications




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